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                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF ALASKA


   KLOOSTERBOER INTERNATIONAL                  )
   FORWARDING LLC and ALASKA                   )
   REEFER MANAGEMENT LLC,                      )
                                               )
                         Plaintiffs,           )
   vs.                                         ) Case No. 3:21-cv-00198 SLG
                                               )
   UNITED STATES OF AMERICA, U.S.              )
   DEPARTMENT OF HOMELAND                      ) MOTION TO DISSOLVE
   SECURITY, U.S. CUSTOMS AND                  ) THE COURT’S INJUNCTION
   BORDER PROTECTION, and TROY A.              ) AS TO PLAINTIFFS’
   MILLER, U.S. Customs and Border             ) ONGOING USE OF THE BCR
   Protection Acting Commissioner, in his      ) ROUTE
   official capacity,                          )
                                               )
                         Defendants.           )
                                               )




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     COMES NOW, the United States of America, through counsel, with the

permission of the Court to file this Motion to Dissolve the Court’s Injunction

as to Plaintiffs’ Ongoing Use of the BCR Route, and to move for expedited

consideration of this Motion. A Motion for Expedited Consideration is filed

herewith.

                              INTRODUCTION

       The Court is familiar with the facts which need not be repeated here in

detail. The United States also incorporates the background stated in Dkt. 156.

       The Court concluded on cross-motions for summary judgment that

Plaintiffs’ use of the BCR Route does not comply with the Third Proviso

because no “transportation” occurs over the BCR. [Dkt. 154 at 20] Upon

information and belief, Plaintiffs continue to utilize the BCR in that same

illegal manner to transport seafood from Alaska to the Eastern United States.

[Declaration of Herm Gadway, dated June 7, 2022, filed concurrently herewith]

Under the applicable law governing injunctions, the Court should immediately

dissolve the part of its injunction that prevents CBP from enforcing the Jones

Act as to Plaintiffs’ ongoing use of the BCR Route.

                                ARGUMENT

I.     Applicable law governing injunctions.

       “[I]njunctive relief is an extraordinary remedy that may only be awarded
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upon a clear showing that the plaintiff is entitled to such relief.” Winter v. Nat.

Res. Def. Council, Inc., 555 U.S. 7, 22 (2008). An injunction must be “narrowly

tailored to remedy the specific harm shown.” E. Bay Sanctuary Covenant v.

Barr, 934 F.3d 1026, 1029 (9th Cir. 2019) (quotations omitted).

      Once a court decides the merits of a claim after granting a preliminary

injunction, the court ordinarily should next decide whether to grant permanent

injunctive relief, which moots the preliminary injunction. Sierra Forest Legacy

v. Rey, 577 F.3d 1015, 1023 (9th Cir. 2009) (citing Grupo Mexicano de

Desarrollo, S.A. v. Alliance Bond Fund, Inc., 527 U.S. 308, 314 (1999)).

      To obtain a preliminary injunction, a plaintiff must establish all four of

the Winter factors under one of two standards, showing either a likelihood of

success on the merits, or at least serious questions going to the merits. See,

e.g., Ramos v. Wolf, 975 F.3d 872, 887-88 (9th Cir. 2020). To obtain a

permanent injunction, a plaintiff must show “actual success” on the merits.

Amoco Prod. Co. v. Vill. of Gambell, 480 U.S. 531, 546 n.12 (1987).

      Even on a motion for a preliminary injunction, if a plaintiff fails to show

likelihood of success on the merits, or at least serious questions going to the

merits, a court need not consider the other factors and the court may not grant

an injunction. See, e.g., Ramos, 975 F.3d at 878-79 (holding that because

plaintiffs failed to establish the first element, district court abused discretion
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in granting injunction); Disney Enterprises, Inc. v. VidAngel, Inc., 869 F.3d 848,

856 (9th Cir. 2017) (a court need not consider any other factors if a plaintiff

cannot establish the first factor).

      The Court alternatively may decide to subject the instant motion to the

test enunciated in Sharp v. Weston, 233 F.3d 1166 (9th Cir. 2000), for when a

party seeks modification or dissolution of an injunction. Under Sharpe, the

movant in that situation “bears the burden of establishing that a significant

change in facts or law warrants revision or dissolution of the injunction.” Id.

at 1170.

      ‘There is no dispute but that a sound judicial discretion may call for the

modification of the terms of an injunction decree if the circumstances, whether

of law or fact, obtaining at the time of its issuance have changed, or new ones

have since arisen.’ ” Sys. Fed’n No. 91, Ry. Emps.' Dept. v. Wright, 364 U.S.

642, 647 (1961); see also A&M Records, Inc. v. Napster, Inc., 284 F.3d 1091,

1098 (9th Cir. 2002) (“A district court has inherent authority to modify a

preliminary injunction in consideration of new facts.”). “Because injunctive

relief is drafted in light of what the court believes will be the future course of

events, a court must never ignore significant changes in the law or

circumstances underlying an injunction lest the decree be turned into an

instrument of wrong.” Salazar v. Buono, 559 U.S. 700, 714-15 (2010) (plurality
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opinion).

II.   Plaintiffs are not entitled to injunctive relief on Counts I and II.

      In Count I, Plaintiffs sought a declaration that Plaintiffs’ use of the BCR

Route falls within the Third Proviso exception to the Jones Act. The Court

disagreed, and held that Plaintiffs’ use of the BCR Route is and was illegal for

two independent reasons. First, the Court held that the BCR Route does not

comply with the Third Proviso because no “transportation” occurs over the

BCR. [Dkt. 154 at 20] Second, the Court held that, prior to September 30, 2021,

the BCR Route also did not comply with the Third Proviso because Plaintiffs

had not filed a rate tariff with the Surface Transportation Board for the BCR

Route. [Dkt. 154 at 24] The Court therefore granted the United States’ motion

for summary judgment on Count I. [Dkt. 154 at 24]

      In Count II, Plaintiffs claimed that CBP violated 19 U.S.C. § 1625(c)(1)

when it issued the Notices of Penalty for Plaintiffs’ use of the BCR Route. The

Court also granted the United States’ motion for summary judgment on this

count. [Dkt. 154 at 29]

      As Plaintiffs are unable to show “actual success” on the merits of Counts

I and II, they are not entitled to any injunctive relief on those counts. 1


1Plaintiffs are also not entitled to injunctive relief on Counts IV and V, which
the Court found to be moot after vacating the Notices of Penalty. [Dkt. 154 at
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III.   Although Plaintiffs prevailed, in part, on Count III, they are not
       entitled to injunctive relief that prevents CBP from enforcing
       the Jones Act as to Plaintiffs’ ongoing use of the BCR Route.

       In Count III, Plaintiffs claimed that CBP violated § 1625(c)(2) when it

issued the Notices of Penalty for Plaintiffs’ use of the BCR Route. The Court

agreed that, in one aspect, CBP violated § 1625(c)(2), and also found genuine

issues of fact as to whether CBP violated § 1625(c)(2) in a second aspect.

       Specifically, the Court found that the Notices of Penalty violated

§ 1625(c)(2) “[i]nsofar as” the Notices modified CBP’s treatment articulated in

the Sunmar II Ruling Letter that “ ‘any use’ of Canadian rail [was] sufficient

to fall within the Third Proviso exception.” [Dkt. 154 at 34-35] As relief for that

violation, the Court vacated the Notices of Penalty, and therefore found it

unnecessary to consider Plaintiffs’ due process and Eighth Amendment claims.

[Dkt. 154 at 41-42]

       The Court found genuine issues of fact as to whether CBP also accorded

treatment to the “BCR Route itself.” [Dkt. 154 at 36-39] The Court held that if

Plaintiffs can establish “this ‘treatment’ [it] would be ‘substantially identical’

to that at issue in the Notices of Penalty, as both concern the BCR Route.” [Dkt.

154 at 39] Discovery and a trial are needed to determine whether CBP violated




39-42]
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§ 1625(c)(2) in this second aspect.

      Even though the Court vacated the Notices of Penalty, the Court’s ruling

on Count III appears to leave open the possibility that CBP can still seek to

collect penalties for Plaintiffs’ transportation of merchandise using the BCR

Route during the time Plaintiffs failed to file a rate tariff for the BCR Route.

Since the Horizon litigation, CBP has required that rate tariffs be filed with

the STB in order for a route to qualify for the Third Proviso. Thus, CBP

penalizing Plaintiffs for not having had a rate tariff on file with the STB would

not have the effect of modifying CBP’s treatment articulated in the Sunmar II

Ruling Letter. Plaintiffs may disagree about whether, depending on the

outcome of the trial, the Court’s decision allows CBP to seek Jones Act

penalties for Plaintiffs’ past utilization of the BCR Route and lack of a rate

tariff filing. The parties would benefit from clarification from the Court on this

point so that all parties understand the ramifications of the trial.

      Even though the parties may disagree about CBP’s ability to seek Jones

Act penalties for Plaintiffs’ past utilization of the BCR Route, no part of the

Court’s decision on Count III entitles Plaintiffs to an injunction preventing

CBP from seeking penalties for ongoing illegal conduct. As the United States

understands the Court’s decision, the remaining pending issues the Court

identified relate solely to CBP’s ability to collect penalties for Plaintiffs’ past
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conduct. Now that the Court has ruled that Plaintiffs’ use of the BCR Route is

illegal, no notice and comment is required under § 1625(c)(2) for CBP to enforce

the law as to ongoing conduct.

      CBP’s regulations are explicit on this point: notice and comment is not

required when there has been a “rendering of a judicial decision which has the

effect of overturning the Customs position.” 19 C.F.R. § 177.12(d)(1)(iv). CBP

took this same position after its prior ruling letters on the need for a rate tariff

filing with the STB were invalidated by judicial decree in the Horizon

litigation. [Dkt. 134-1 at 2 (“Finally, as to your concern that others may rely on

rulings invalidated by the court, we believe that the court’s decision constitutes

public notice that the rulings were invalidated.”)]

      Without relying on § 177.12(d)(1)(iv), the Federal Circuit reached the

same conclusion in Sea-Land Services, Inc. v. United States, 239 F.3d 1366

(Fed. Cir. 2001). In that case, the plaintiff invoked § 1625(c), and argued that

CBP was illegally modifying a prior “treatment” without notice and comment,

even though CBP was merely applying a rule concerning dutiable expenses

announced by the Federal Circuit in a prior case (the Texaco case). Sea-Land

Serv., 239 F.3d at 1368. The Federal Circuit rejected the plaintiff’s argument

that CBP had violated § 1625(c), holding:

      It was this court in Texaco that modified the treatment of vessel
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      repair expenses under § 1466(a). We “clarif[ied]” the judicial
      interpretation of 19 U.S.C. § 1466(a) in Texaco, explaining that,
      based on the plain language of the statute, “expenses of repairs” in
      § 1466(a) meant those expenses that would not have been incurred
      “but for” the ship's repair. Texaco, 44 F.3d at 1546. With this
      explicit interpretation of § 1466(a), Texaco wiped the slate of
      decisions under § 1466(a) clean, requiring the dutiability of all
      vessel repair expenses to be determined by the “but for” test.
      Customs is required to follow and apply the “but for” test. See
      Chevron U.S.A., Inc. v. Natural Resources Defense Council, Inc.,
      467 U.S. 837, 843 n. 9, 104 S.Ct. 2778, 81 L.Ed.2d 694 (1984)
      (noting that [t]he judiciary is the final authority on issues of
      statutory construction and that when a court, employing
      traditional tools of statutory construction, ascertains that
      Congress had an intention on the precise question at issue, that
      intention is the law and must be given effect). Any decision by
      Customs after Texaco is a decision under the new, clarified
      standards for determining what expenses under § 1466(a) are
      dutiable. Since this court, through its decision in Texaco, changed
      Customs' earlier treatment of vessel repair expenses under §
      1466(a), Customs' actions after Texaco cannot be recognized as
      rulings or decisions that revoke or modify Customs' earlier
      decisions under § 1466(a). Furthermore, Customs, required to act
      under this court's interpretation of § 1466(a), cannot be said to be
      the one changing any of its previous decisions; our decision in
      Texaco created those changes.

Sea-Land Serv., 239 F.3d at 1372-73.

      The same rule should apply here. The Court’s decision on Count I

obviates any need for CBP to provide notice and comment to modify or revoke

any past rulings or treatment relating to the legality of the BCR Route. Once

the Court lifts its injunction as to Plaintiffs’ ongoing use of the BCR Route,

CBP can immediately begin to enforce the Jones Act as to any violations.

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III.   It would be an abuse of discretion for the Court to continue to
       enjoin CBP from enforcing the Jones Act as to Plaintiffs’ ongoing
       use of the BCR Route.

       The Court stated that it intends to dissolve the injunction with respect

to future penalties at the conclusion of this case, after resolution of the pending

issues. Because the resolution of these pending issues will only determine

CBP’s ability to collect penalties for past conduct, there is no legal or equitable

reason to keep the injunction in place as to CBP’s ability to enforce the Jones

Act as to Plaintiffs’ ongoing use of the BCR Route.

       Under the standards identified in Part I, it would be an abuse of

discretion for the Court to continue its constitutional tolling injunction as to

ongoing conduct. The sole purpose of a preliminary injunction is to “preserve

the status quo ante litem pending a determination of the action on the merits.”

Sierra Forest Legacy, 577 F.3d at 1023. The Court has already decided the

merits and determined that the BCR Route does not meet the requirements of

the Third Proviso. Thus, the injunction should be dissolved. See, e.g., Index

Newspapers LLC v. City of Portland, 2022 WL 72124, at *9 (D. Or. Jan. 7, 2022)

(holding that the court would dissolve injunction because “a significant change

in facts” meant that “Federal Defendants have met their burden with respect

to likelihood of success on the merits and irreparable harm”); Netlist, Inc. v.

Diablo Techs., Inc., 2015 WL 1925114, at *2 (N.D. Cal. Apr. 24, 2015) (“With
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the likelihood of success so undermined, the foundation for a preliminary

injunction no longer exists.”); cf. Agostini v. Felton, 521 U.S. 203, 237 (1997)

(holding that petitioners were entitled to relief from permanent injunction

because of a change in the law).

      The Court’s constitutional tolling injunction is a form of permanent

injunction. Under the Court’s injunction, CBP is enjoined “from ever issuing

and enforcing any new Notices of Penalty for alleged violations of the Jones

Act relating to shipments from Alaska to U.S. destinations through Bayside

via the BCR Route commenced or completed at any time from the date of this

order until the date of the final judgment in this action, and regardless of the

outcome of the action.” [Dkt. 95 at 23] Thus, Plaintiffs continue to be the

beneficiaries of a permanent injunction even after the Court has determined

that Plaintiffs’ use of the BCR Route is illegal. Every day the injunction

remains in place, the United States is irreparably harmed by its inability to

enforce the law.

      Even if the Court were to apply the standard in Sharpe, the Court should

find that the United States has met its burden to establish “a significant

change in facts or law [that] warrants revision or dissolution of the injunction.”

Id. at 1170. The Court entered its injunction after finding that “Plaintiffs

should be accorded the right to test the validity of the Notices of Penalty
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without having to face the risk of large additional penalties if they do not

prevail in this case.” Kloosterboer Int'l Forwarding LLC v. United States, No.

3:21-CV-00198-SLG, 2021 WL 4729303, at *5 (D. Alaska Oct. 10, 2021).

Plaintiffs have had due process, and an abundant opportunity to prove that

the BCR Route meets the requirements of the Third Proviso—they failed. The

Court’s injunction, which now effectively allows the Plaintiffs to violate the law

with impunity, has become “ ‘an instrument of wrong.’ ” Salazar, 559 U.S. at

714-15.

                                CONCLUSION

       For all of these reasons, the Court should dissolve its injunction as to

Plaintiffs’ ongoing use of the BCR Route and allow CBP to enforce the Jones

Act.

       RESPECTFULLY SUBMITTED this 7th day of June 2022, in

Anchorage, Alaska.

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                                            s/ Seth M. Beausang
                                            Assistant U.S. Attorney
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CERTIFICATE OF SERVICE
I hereby certify that on June 7, 2022,
a copy of the foregoing was served electronically on:

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